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Court Reference Letter

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March 5, 2022

RE: Ross Roggio

To Whom This May Concern,

My name is Deb Raymond and I have known Ross Roggio all his life and he is a
caring and loving family member. As a teacher in a high school and public school
setting for 28 years, | am a considerable good judge of character. | watched Ross grow
up into the friendly, respectable man he is today.

Our families have visited each other since we were both young. | continue to visit with
Ross and his parents, staying weeks at a time during my winter and summer breaks.
During that time, I personally watched Ross attend to the needs of both his parents,
who are in their 80s and 90s. He prepares and cooks nutritious meals for them, and he
ensures they have a healthy lifestyle. | have seen him in situations where he exhibits
trustworthiness and responsibility.

In all the years I have known Ross, he is always happy to lend a helping hand to others

without expecting anything in return. I am proud that Ross is a member of my family
and I plan to visit with him and his parents for many more years to come.

Sincerely,

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C. Deborah Raymond

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